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                                 EXHIBIT 1

                             Delehey Declaration




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Counsel for the Debtors and
Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                               )
 In re:                                        )       Case No. 12-12020 (MG)
                                               )
 RESIDENTIAL CAPITAL, LLC, et al.,             )       Chapter 11
                                               )
                                 Debtors.      )       Jointly Administered
                                               )

             DECLARATION OF LAUREN GRAHAM DELEHEY,
CHIEF LITIGATION COUNSEL AT RESIDENTIAL CAPITAL, LLC, IN SUPPORT OF
   DEBTORS’ OBJECTION TO MOTION FOR RELIEF FROM STAY FILED ON
            BEHALF OF LEANETHA DARBY [DOCKET NO. 5784]

          I, Lauren Graham Delehey, declare as follows:

          A.     Background and Qualifications

                 1.      I serve as Chief Litigation Counsel in the legal department at Residential

Capital, LLC (“ResCap”), a limited liability company organized under the laws of the state of

Delaware and the parent of the other debtors and debtors in possession in the above-captioned

chapter 11 cases (collectively, the “Debtors”). I have served as in-house litigation counsel since

I joined ResCap on August 1, 2011.

                 2.      In my role as Chief Litigation Counsel at ResCap, I am responsible for the

management of residential mortgage-related litigation. I am authorized to submit this declaration



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(the “Declaration”) in support of the Debtors’ Objection To Motion For Relief From Stay Filed

On Behalf Of Leanetha Darby [Docket No. 5784] (the “Objection”).1

                   3.       In my capacity as Chief Litigation Counsel, I am generally familiar with

the Debtors’ litigation matters, including the California Action. Except as otherwise indicated,

all statements in this Declaration are based upon my personal knowledge; information supplied

or verified by personnel in departments within the Debtors’ various business units; my review of

the Debtors’ litigation case files, books and records, as well as other relevant documents; my

discussions with other members of the Debtors’ Legal Department; information supplied by the

Debtors’ consultants and counsel; or my experience, expertise, and knowledge of the Debtors’

litigation matters, financial condition and history. In making my statements based on my review

of the Debtors’ litigation case files, books and records, relevant documents, and other

information prepared or collected by the Debtors’ employees, consultants or counsel, I have

relied upon these employees, consultants, and counsel accurately recording, preparing,

collecting, or verifying any such documentation and other information. If I were called to testify

as a witness in this matter, I would testify competently to the facts set forth herein.

          B.       Events Giving Rise To The Motion

                   4.       On or about February 4, 2004, Ray Darby (“Borrower”), Movant’s now

deceased husband, obtained a loan (the “Loan”) evidenced by a note (the “Note”) and secured

by a deed of trust (the “Deed of Trust”) from GMAC Mortgage Corporation (now GMACM) in

the amount of $340,00 against the property located at 7700 Oso Ave., Winnetka, California

91306 (the “Property”). GMACM was also the servicer of the Loan. Borrower was the sole



1
    Capitalized terms used herein and not otherwise defined shall have the meaning ascribed to such terms in the
    Objection.


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signatory on both the Note and the Deed of Trust. See Note and Deed of Trust, annexed hereto

as Exhibit A and B, respectively.

               5.       Following Borrower’s death in December 2008, Movant purportedly

became the successor in interest with respect to Borrower’s interest in the Property although

Movant failed to provide adequate documentation substantiating this contention despite multiple

requests by GMACM.

               6.       California law allows for non-judicial foreclosures. As a result of

Borrower and/or Movant’s continuing default under the Loan, on or about February 25, 2011,

Executive Trustee Services (“ETS”), acting as agent for GMACM, served and recorded a notice

of default on the Loan. See Notice of Default, annexed hereto as Exhibit C.

               7.       On or about June 6, 2011, ETS recorded a notice of trustee’s sale of the

Property, which was scheduled to be held on June 27, 2011. See Notice of Trustee’s Sale,

annexed hereto as Exhibit D.

               8.       The trustee’s sale was ultimately held on August 23, 2011, at which time

the Property reverted to GMACM. See Trustee’s Deed, annexed hereto as Exhibit E.

               9.       On or about March 20, 2012, the Property was sold to a third party

purchaser.

               10.      One year later, on or about March 20, 2013, Movant filed a complaint (the

“Complaint”) commencing the California Action against GMACM, ETS, and various

unspecified defendants in the California State Court (Case No. LC100069), asserting claims for:

(I) Fraudulent Concealment; (II) Intentional Misrepresentation; (III) Negligent

Misrepresentation; (IV) Violation of the Fair Debt Collection Practices Act (15 U.S.C.




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§ 1692(E)); (V) Violation of the Rosenthal Fair Debt Collection Practices Act (California Civil

Code § 1812.700(A)); and (VI) Negligence. See Motion, Ex. A.

                11.      On April 26, 2013, GMACM filed a Notice of Bankruptcy and Suggestion

of Automatic Stay (the “NOB”) with the California State Court. See NOB, annexed hereto as

Exhibit F.

                12.      The California Action has remained stayed since the NOB was filed.



                Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

Dated: December 10, 2013


                                                     /s/ Lauren Graham Delehey
                                                     Lauren Graham Delehey
                                                     Chief Litigation Counsel for
                                                     Residential Capital, LLC




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